   22-01138-mew
Case               Doc 2 Document
     1:22-cv-22538-RKA    Filed 08/22/22   Entered
                                   7-2 Entered  on 08/22/22 21:27:03
                                                   FLSD Docket         Main Document
                                                                08/26/2022   Page 1 of 32
                                       Pg 1 of 32            Docket #2       Date Filed: 08/22/2022




   Joshua A. Sussberg, P.C.                   Michael B. Slade (admitted pro hac vice)
   Christopher Marcus, P.C.                   KIRKLAND & ELLIS LLP
   Christine Okike, P.C.                      KIRKLAND & ELLIS
   Allyson B. Smith (admitted pro hac vice)      INTERNATIONAL LLP
   KIRKLAND & ELLIS LLP                       300 North LaSalle
   KIRKLAND & ELLIS                           Chicago, IL 60654
      INTERNATIONAL LLP                       Telephone: (312) 862-2000
   601 Lexington Avenue                       Facsimile: (312) 862-2200
   New York, NY 10022
   Telephone: (212) 446-4800
   Facsimile: (212) 446-4900

   Counsel to the Debtors and
   Debtors in Possession

   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK


   In re:                                        Chapter 11
   VOYAGER DIGITAL HOLDINGS, INC. et al.,        Case No. 22-10943 (MEW)
                                                 (Jointly Administered)
                        Debtors.


   VOYAGER DIGITAL HOLDINGS, INC. et al.,

                        Plaintiffs,

            v.                                   Adv. Pro. No. 22-01138 (MEW)

   PIERCE ROBERTSON et al.,

                        Defendants.


             THE DEBTORS’ MOTION TO EXTEND THE AUTOMATIC STAY OR,
              IN THE ALTERNATIVE, FOR INJUNCTIVE RELIEF ENJOINING
                   PROSECUTION OF CERTAIN PENDING LITIGATION




                                        EXHIBIT "B"
   22-01138-mew
Case               Doc 2 Document
     1:22-cv-22538-RKA    Filed 08/22/22   Entered
                                   7-2 Entered  on 08/22/22 21:27:03
                                                   FLSD Docket        Main Document
                                                                08/26/2022  Page 2 of 32
                                       Pg 2 of 32



                                                      TABLE OF CONTENTS

                                                                                                                                          Page

   TABLE OF AUTHORITIES............................................................................................................i

   PRELIMINARY STATEMENT .....................................................................................................1

   STATEMENT OF FACTS ..............................................................................................................3

             A.         Voyager Overview...................................................................................................4

             B.         The Cassidy and Robertson Actions........................................................................6

             C.         The D&O Insurance Coverage ................................................................................8

             D.         The Debtors’ Indemnification Obligations ..............................................................9

   ARGUMENT.................................................................................................................................10

   I.        The Automatic Stay of Section 362 Should Be Extended to Stay Robertson. ..................11

             A.         Robertson Should Be Stayed Under Section 362(a)(1) Given Mr. Ehrlich’s
                        and the Other Defendants’ Identity of Interest with the Debtors...........................11

                        1.         Continuation of Robertson Would Inevitably Effect the Debtors. ............12

                        2.         Continuation of Robertson Could Create Significant
                                   Indemnification Obligations for the Debtors’ Estate.................................15

             B.         Robertson Should Be Stayed Under Section 362(a)(3)
                        in Order to Preserve and Protect the Estate’s Property..........................................16

   II.       The Continued Prosecution of Robertson Should Be Enjoined Under Section 105..........18

             A.         Continuation of Robertson Will Irreparably Harm the Debtors. ...........................20

             B.         There Is a Reasonable Likelihood the Debtors Will Successfully
                        Restructure.............................................................................................................23

             C.         The Balance of Harms Favors an Injunction. ........................................................24

             D.         An Injunction Serves the Public Interest. ..............................................................24

   CONCLUSION..............................................................................................................................25




                                                                         i
                                                           EXHIBIT "B"
   22-01138-mew
Case               Doc 2 Document
     1:22-cv-22538-RKA    Filed 08/22/22   Entered
                                   7-2 Entered  on 08/22/22 21:27:03
                                                   FLSD Docket        Main Document
                                                                08/26/2022  Page 3 of 32
                                       Pg 3 of 32



                                               TABLE OF AUTHORITIES

                                                                                                                           Page(s)

   Cases

   A.H. Robins Co. v. Piccinin,
          788 F.2d 994 (4th Cir. 1986) ......................................................................................passim

   E. Refractories Co. v. Forty Eight Insulations Inc.,
          157 F.3d 169 (2d Cir. 1998) ..............................................................................................10

   Haw. Structural Ironworkers Pension Trust Fund v.
         Calpine Corp. Inc.,
         2006 WL 3755175 (S.D.N.Y. Dec. 20, 2006) .................................................19, 20, 22, 24

   In re 1031 Tax Grp., LLC,
           397 B.R. 670 (Bankr. S.D.N.Y. 2008)........................................................................passim

   In re 48th St. Steakhouse, Inc.,
           835 F.2d 427 (2d Cir. 1987) ........................................................................................11, 16

   In re Adelphia Commc’ns Corp.,
          298 B.R. 49 (S.D.N.Y. 2003) ......................................................................................19, 25

   In re Adelphia Commc’ns Corp.,
          345 B.R. 69 (Bankr. S.D.N.Y. 2006).................................................................................16

   In re Allied Digital Techs. Corp.,
           306 B.R. 505 (Bankr. D. Del. 2004)..................................................................................17

   In re Am. Film Techs.,
          175 B.R. 847 (Bankr. D. Del. 1994)..................................................................................24

   In re Barney’s Inc.,
          200 B.R. 527 (Bankr. S.D.N.Y. 1996)...............................................................................22

   In re Calpine Corp.,
          354 B.R. 45 (Bankr. S.D.N.Y. 2006)..........................................................................passim

   In re Calpine Corp.,
          365 B.R. 401 (S.D.N.Y. 2007) ........................................................................10, 19, 20, 24

   In re Calpine,
          2007 WL 1302604 (Bankr. S.D.N.Y. Apr. 30, 2007)............................................14, 19, 20

   In re Chateaugay Corp.,
          93 B.R. 26 (S.D.N.Y. 1988) ..............................................................................................19



                                                                    i
                                                       EXHIBIT "B"
   22-01138-mew
Case               Doc 2 Document
     1:22-cv-22538-RKA    Filed 08/22/22   Entered
                                   7-2 Entered  on 08/22/22 21:27:03
                                                   FLSD Docket        Main Document
                                                                08/26/2022  Page 4 of 32
                                       Pg 4 of 32



   In re Chateaugay,
          201 B.R. 48 (Bankr. S.D.N.Y. 1996).................................................................................19

   In re Downey Fin. Corp.,
          428 B.R. 595 (Bankr. D. Del. 2010)..................................................................................17

   In re Durr Mechanical Const., Inc.,
          604 B.R. 131 (S.D.N.Y. Bankr. 2019)...............................................................................16

   In re First Cent. Fin. Corp.,
           238 B.R. 9 (Bankr. E.D.N.Y. 1999) ..................................................................................18

   In re Ionosphere Clubs, Inc.,
           111 B.R. 423 (Bankr. S.D.N.Y. 1990).............................................................12, 14, 19, 22

   In re Ionosphere Clubs, Inc.,
           922 F.2d 984 (2d Cir. 1990) ..............................................................................................10

   In re Johns-Manville Corp.,
           26 B.R. 420 (Bankr. S.D.N.Y. 1983).....................................................................10, 14, 24

   In re Johns-Manville Corp.,
           40 B.R. 219 (S.D.N.Y. 1984) ............................................................................................15

   In re Johns-Manville Corp.,
           600 F.3d 135 (2d Cir. 2010) ..............................................................................................17

   In re Lion Capital Grp.,
           44 B.R. 690 (Bankr. S.D.N.Y. 1984).................................................................................15

   In re Lomas Fin. Corp.,
           117 B.R. 64 (S.D.N.Y. 1990) ................................................................................12, 20, 22

   In re LTL Management, LLC,
          638 B.R. 291 (Bankr. D.N.J. 2022) ...................................................................................15

   In re Lyondell Chem. Co.,
           402 B.R. 571 (Bankr. S.D.N.Y. 2009)...................................................................19, 20, 23

   In re Madoff,
          2012 WL 990829 (S.D.N.Y. Mar. 26, 2012).....................................................................10

   In re MF Global Holdings Ltd.,
          469 B.R. 177 (Bankr. S.D.N.Y. 2012).........................................................................17, 18

   In re N. Star Contracting Corp.,
           125 B.R. 368 (S.D.N.Y. 1991) ....................................................................................11, 19




                                                                    ii
                                                       EXHIBIT "B"
   22-01138-mew
Case               Doc 2 Document
     1:22-cv-22538-RKA    Filed 08/22/22   Entered
                                   7-2 Entered  on 08/22/22 21:27:03
                                                   FLSD Docket        Main Document
                                                                08/26/2022  Page 5 of 32
                                       Pg 5 of 32



   In re OMC, Inc.,
          2010 WL 4026097 (Bankr. S.D.N.Y. Oct. 13, 2010) ........................................................24

   In re Quigley Co., Inc.,
          676 F.3d 45 (2d Cir. 2012) ................................................................................................17

   In re Residential Capital, LLC,
           2014 WL 3798622 (Bankr. S.D.N.Y. July 31, 2014) ........................................................10

   In re S.W. Bach. & Co.,
           425 B.R. 78 (Bankr. S.D.N.Y. 2010).................................................................................22

   In re Soundview Elite Ltd.,
           543 B.R. 78 (S.D.N.Y. 2016) ............................................................................................23

   In re United Health Care Org.,
          210 B.R. 228 (S.D.N.Y. 1997) ........................................................................11, 15, 20, 21

   In re W.R. Grace & Co.,
          2004 WL 954772 (Bankr. D. Del. Apr. 29, 2004).............................................................15

   MacArthur Co. v. Johns-Manville Corp.,
         837 F.2d 89 (2d Cir. 1988) ................................................................................................17

   Malm v. Goldin,
         1993 WL 330489 (S.D.N.Y. Aug. 27, 1993).....................................................................20

   Midlantic Nat’l Bank v. N.J. Dep’t of Envtl. Prot.,
         474 U.S. 494 (1986)...........................................................................................................10

   Queenie, Ltd. v. Nygard Int’l,
         321 F.3d 282 (2d Cir. 2003) .......................................................................................passim

   Raudonis as trustee for Walter J. Raudonis 2016 Revocable Tr. v.
         RealtyShares, Inc.,
         507 F. Supp. 3d 378 (D. Mass. 2020)................................................................................18

   Teachers Ins. & Annuity Ass’n of Am. v. Butler,
         803 F.2d 61 (2d Cir. 1986) ................................................................................................10

   Tenas-Reynard v. Palermo Taxi, Inc.,
         2016 WL 1276451 (S.D.N.Y Mar. 30, 2016)....................................................................12

   Statutes

   11 U.S.C. § 105...……………………………………………………………………………passim

   11 U.S.C. § 362 ......................................................................................................................passim



                                                                       iii
                                                          EXHIBIT "B"
   22-01138-mew
Case               Doc 2 Document
     1:22-cv-22538-RKA    Filed 08/22/22   Entered
                                   7-2 Entered  on 08/22/22 21:27:03
                                                   FLSD Docket        Main Document
                                                                08/26/2022  Page 6 of 32
                                       Pg 6 of 32



          The Debtors1 seek an extension of the automatic stay to the continued prosecution of a

   lawsuit against the Debtors’ chief executive officer, Stephen Ehrlich, and two other parties, based

   on allegations regarding the Debtors’ business. Without an extension of the stay pursuant to

   section 362(a) or an injunction under section 105(a) of the Bankruptcy Code, the litigation would

   nullify the protections provided by the stay and threaten the Debtors’ restructuring efforts.

                                   PRELIMINARY STATEMENT

          Stephen Ehrlich, the Debtors’ CEO and co-founder, along with Mark Cuban and Dallas

   Basketball Limited, have been named as defendants in a putative class-action lawsuit, filed in the

   U.S. District Court for the Southern District of Florida, arising from the Debtor’s cryptocurrency

   business. See Decl. of Michael Slade, Exhibit A (Robertson Complaint). The Robertson suit was

   filed August 10. It alleges state law claims for aiding and abetting fraud and breach of fiduciary

   duty,2 as well as state securities law, consumer-protection law, and civil-conspiracy claims.

          Robertson is dependent on, and inextricably intertwined with, the Debtors’ alleged

   conduct. The thrust of the complaint is that the defendants aided and abetted the Debtors’ alleged

   fraud. In fact, Robertson began as a lawsuit against two debtors, filed by the same plaintiffs’ law

   firm, that was stayed and administratively closed by the District Court upon the filing of these

   chapter 11 cases (the “Cassidy” suit). See Slade Decl. Ex. B (Cassidy Amended Complaint). The

   plaintiffs responded to the stay of their original case by re-packaging and re-filing essentially the


   1   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
       tax identification number, are Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd.
       (7224); and Voyager Digital, LLC (8013). The location of Debtors’ principal place of business
       is 33 Irving Place, Suite 3060, New York, NY 10003.
   2   The aiding and abetting breach of fiduciary duty claims are not clearly articulated in the
       Robertson complaint. If plaintiffs are alleging that any defendants breached fiduciary duties
       to Voyager, or that any defendant aided and abetted a breach of fiduciary duty to Voyager,
       then—putting aside their viability—any such claims are property of the estate and their
       inclusion was a clear violation of the stay already in effect.


                                                    1
                                           EXHIBIT "B"
   22-01138-mew
Case               Doc 2 Document
     1:22-cv-22538-RKA    Filed 08/22/22   Entered
                                   7-2 Entered  on 08/22/22 21:27:03
                                                   FLSD Docket        Main Document
                                                                08/26/2022  Page 7 of 32
                                       Pg 7 of 32



   same lawsuit, naming the Debtors’ CEO instead of the Debtors, and adding a high-profile

   individual and the professional basketball team he owns for additional media appeal.

          Like its predecessor, the Robertson suit alleges that the Debtors engaged in a fraudulent

   scheme to deprive the plaintiffs of money through use of the Debtors’ services, and repeatedly ties

   Mr. Ehrlich’s alleged actions to the allegations made against the Debtors in the administratively

   stayed Cassidy case. Robertson is a clear and obvious attempt to circumvent the automatic stay.

   Further, Robertson may also require a determination of whether of cryptocurrencies are securities

   at all—an unsettled legal issue that is of great importance to the Debtors’ future business.

          This Court should extend the automatic stay pursuant to section 362, or issue an injunction

   pursuant to section 105 to enjoin the continuation of the Robertson for the following reasons:

          First, the Debtors will be exposed to a risk of collateral estoppel, stare decisis, and

   evidentiary prejudice if Robertson is allowed to continue. Mr. Ehrlich’s alleged conduct as the

   Debtors’ CEO, and the Debtors’ relationship with the other Robertson defendants, are foundational

   to Robertson and the currently-stayed Cassidy action, and any decision potentially adverse to

   Mr. Ehrlich or the other defendants in Robertson would inevitably be used against all the Debtors,

   likely in both currently-filed proceedings and future litigation.

          Second, Mr. Ehrlich is critical to the restructuring efforts of the Debtors, and the Debtors’

   efforts to move this bankruptcy case forward as quickly as possible would be impaired if Robertson

   proceeds. The Debtors possess much of the information necessary to defend against Robertson’s

   claims against both Mr. Ehrlich and the other defendants (and for the Robertson plaintiffs to

   attempt to prosecute those claims); that the Robertson plaintiffs will seek discovery from the

   Debtors is inevitable. Such discovery would consume significant time and resources, distract the

   Debtors’ management, and effectively eliminate the benefits of the automatic stay.




                                                     2
                                           EXHIBIT "B"
   22-01138-mew
Case               Doc 2 Document
     1:22-cv-22538-RKA    Filed 08/22/22   Entered
                                   7-2 Entered  on 08/22/22 21:27:03
                                                   FLSD Docket        Main Document
                                                                08/26/2022  Page 8 of 32
                                       Pg 8 of 32



          Third, the Debtors will face indemnification claims if Robertson is allowed to continue.

   The Articles of both Voyager Digital, LLC and Voyager Digital Holdings, Inc. require

   indemnification of its officers, like Mr. Ehrlich, for liabilities incurred in the course of their

   business as officers, and those two Debtors could be required to pay for such indemnification. As

   such, the Debtors could be directly affected should Robertson go forward.3

          Fourth, property of the Debtors’ estate will be depleted if Robertson is allowed to continue.

   The Debtors, Mr. Ehrlich, and the Debtors’ other directors and officers share insurance coverage

   for litigation such as Robertson. If Robertson is allowed to continue against Mr. Ehrlich, he and

   the Debtors will incur defense costs and losses that could draw down these insurance policies,

   depleting an asset that the Debtors contend is property of the estate.

          For these reasons, the Debtors request that the Court extend the automatic stay pursuant to

   section 362 or issue an injunction pursuant to section 105 to stay or enjoin the prosecution of

   Robertson until the effective date of a restructuring plan in these chapter 11 cases.

                                      STATEMENT OF FACTS

          The Debtors and certain non-Debtor affiliates (collectively, “Voyager” or “the Company”)

   provide cryptocurrency trading services and cryptocurrency custodial services. See Decl. of

   Stephen Ehrlich, Chief Executive Officer of the Debtors, in Support of Chapter 11 Petitions and

   First Day Motions ¶¶ 2, 4 (July 6, 2022) (ECF No. 15) (the “Ehrlich Decl.”). Voyager’s mobile

   application has been downloaded millions of times, had over 3.5 million active users in early 2022,

   and was one of the top ten most downloaded cryptocurrency mobile applications in the world in

   2021. Id. ¶ 2.




   3   The Debtors also face indemnity claims from Mr. Cuban and Dallas Basketball Limited, if
       Robertson is allowed to continue.


                                                    3
                                           EXHIBIT "B"
   22-01138-mew
Case               Doc 2 Document
     1:22-cv-22538-RKA    Filed 08/22/22   Entered
                                   7-2 Entered  on 08/22/22 21:27:03
                                                   FLSD Docket        Main Document
                                                                08/26/2022  Page 9 of 32
                                       Pg 9 of 32



          A.      Voyager Overview

          Voyager was founded in 2018 by a group of Wall Street and Silicon Valley entrepreneurs

   with extensive experience in the technology and finance sectors. It was founded to bring choice,

   transparency, and cost efficiency to cryptocurrency investors and designed to be “accessible to all”

   by focusing on the needs of retail investors. Id. ¶ 18. Between 2020 and 2022, the number of users

   on Voyager’s platform grew from over 120,000 to over 3.5 million. Id. ¶ 20.

          While Voyager experienced rapid growth and success, it also faced challenges. The onset

   of the COVID-19 pandemic was followed by a sharp drop in cryptocurrency prices, including a

   fall in the price of Bitcoin of over 50% from February to March 2020. Id. ¶ 38. Unanticipated

   global events in 2022 also contributed to a widespread selloff in cryptocurrency. Id. ¶¶ 42–43. And

   distressed situations faced by two industry participants—Terraform Labs and Three Arrows

   Capital—exacerbated this “cryptocurrency winter.” Id. ¶ 44.

          Terraform Labs created Terra, an open-source blockchain protocol, and issued two

   cryptocurrencies, Luna and TerraUSD (“UST”), for use on Terra. UST is an algorithmic stablecoin

   that was designed to trade at $1 by being “pegged” to Luna via an arbitrage mechanism whereby

   one UST could be traded for $1 worth of Luna. If UST traded above $1, arbitrageurs bought $1 of

   Luna and exchanged it for one UST, netting the difference in profit, and vice versa if UST traded

   below $1. Arbitrage trading was intended to keep the price of UST at $1. Id. ¶ 46.

          On May 7, 2022, $2 billion of UST was immediately sold, moving UST’s price down to

   $0.91. Traders entered the market to arbitrage UST back to $1 but found that only $100 million of

   UST could be burned in exchange for Luna per day, which was insufficient to “re-peg” UST to $1.

   Id. ¶ 47. When UST failed to re-peg, further selloffs pushed the price of UST even lower. Failed

   arbitrage efforts also created an oversupply of Luna that led to a sharp drop in the price of Luna.




                                                    4
                                          EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 10 of 32
                                       Pg 10 of 32



   Ultimately, in just one week’s time, the price of Luna dropped from $82.55 to $0.000001, erasing

   over $18 billion of value and leading to further selloffs in the sector. Id. ¶ 48–49.

          In March 2022, Voyager had entered into a master loan agreement (the “3AC Loan”) with

   Three Arrows Capital (“3AC”), pursuant to which Voyager agreed to lend 15,250 Bitcoins and

   350 million USD Coin (“USDC”) that were callable at any time by Voyager. 3AC fully drew

   down on the loan. Id. ¶ 55. In June 2022, Voyager became concerned that 3AC’s ability to repay

   the 3AC loan might be compromised, leading to Voyager making an initial request for a repayment

   of $25 million of USDC by June 24, 2022, and subsequently requesting repayment of the entire

   outstanding balance of Bitcoin and USDC by June 27, 2022 Id. ¶ 56. 3AC did not repay any

   amount of the 3AC Loan, and on June 27, 2022, Voyager issued a notice of default to 3AC. Id.

          Additionally, Voyager saw a significant uptick in customer withdrawals, putting additional

   strain on the Company’s business, after Celsius Network, a cryptocurrency lender with over

   $11 billion of assets under management, announced it was pausing all account withdrawals.

   Celsius’s announcement precipitated a 30% decline in the price of Bitcoin in the following days.

   Id. ¶ 62. Voyager reduced its daily withdrawal maximum from $25,000 to $10,000 per user per

   day, which was necessary to ensure the Company could effectuate trades for customers and

   stabilize the Company’s business while it engaged in discussions with potential third-party

   sponsors. Id. ¶ 63.

          But as cryptocurrency markets continued to trend down, the Company realized that further

   steps were required to preserve customer investments, avoid irreparable damage to the Debtors’

   business, and ensure that its trading platform operated smoothly for all customers. Accordingly,

   on July 1, 2022, the Company froze all withdrawals and trading activity on its platform.




                                                     5
                                           EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 11 of 32
                                       Pg 11 of 32



          On June 22, 2022, Voyager Digital Holdings, Inc. entered into an agreement for a

   revolving credit facility with Alameda Ventures Ltd. (“Alameda”), under which Alameda provided

   Voyager with $200 million cash and USDC and 15,000 Bitcoin subject to certain restrictions. Id.

   ¶¶ 33, 57–58. The Alameda loan facility, however, was only a partial solution to the Company’s

   liquidity issues. Several weeks later, having sought investor interest outside of court in a sale of

   the Debtors’ entire business or a capital raise whereby a third party would provide a capital infusion

   into the Company’s e, id. ¶¶ 59–60, the Debtors initiated these chapter 11 cases.

          B.      The Cassidy and Robertson Actions

          On December 24, 2021, a putative class-action complaint was filed against two of the

   Debtors, Voyager Digital Ltd. and Voyager Digital, LLC, in the United States District Court for

   the Southern District of Florida, captioned Cassidy et al. v. Voyager Digital Ltd. et al. That action

   alleges that “Voyager’s practices were deceptive, illegal and were the sale of unregistered

   securities,” Am. Compl. ¶ 5, Cassidy v. Voyager, 1:21-cv-24441-CMA (S.D. Fla. Apr. 28, 2022)

   (ECF No. 46) (“Cassidy Am. Compl.,” included as Exhibit B to the Declaration of Michael B.

   Slade), quoting and citing alleged statements of Stephen Ehrlich, the Debtors’ CEO, e.g., id. ¶¶ 4,

   7, 10, 31, 33, 41, 77. Cassidy asserted causes of action under federal and state securities law, and

   violations of consumer-protection claims under New Jersey and Florida law. Id. ¶¶ 128–61.

          Cassidy was litigated for six months prior to the Petition Date. See Slade Decl. Ex. C

   (docket of Cassidy litigation). Upon the filing of these cases, the Debtors filed a suggestion of

   bankruptcy on the docket in Cassidy, see Slade Decl. Ex. D (July 7, 2022 filing), and the District

   Court administratively closed the case, see Slade Decl. Ex. E (July 8, 2022 order).

          A month later, the same lawyers who represent the Cassidy plaintiffs filed another putative-

   class-action proceeding in the United States District Court for the Southern District of Florida, this

   time including Debtors’ CEO and co-founder, Mr. Ehrlich, as a defendant. This action is captioned


                                                     6
                                           EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 12 of 32
                                       Pg 12 of 32



   Robertson et al. v. Cuban et al., No. 1:22-cv-22538-RKA (S.D. Fla. Aug. 10, 2022). The plaintiffs,

   as proposed class representatives, assert claims against Mr. Ehrlich, Mark Cuban (the owner of the

   Dallas Mavericks), and Dallas Basketball Limited (d/b/a Dallas Mavericks, a non-affiliated entity

   with which Voyager has a commercial relationship) for allegedly aiding and abetting Voyager’s

   alleged fraud claimed in the Cassidy action; aiding and abetting breach of fiduciary duty; civil

   conspiracy; and alleged violation of several states’ consumer-protection and securities laws. Slade

   Decl. Ex. A (Robertson Compl.) ¶¶ 145–413. The efforts to circumvent the automatic stay

   effectuated in Cassidy are obvious and brazen; indeed, the Robertson Complaint liberally cuts and

   pastes from allegations made in Cassidy and explicitly claims that Cassidy “specifically alleged in

   detail … how Defendants Mark Cuban and Stephen Ehrlich were key players who personally

   reached out to investors, individually and through [defendant] Dallas Mavericks, to induce them

   to invest in the Deceptive Voyager Platform.” Robertson Compl. ¶ 1.

          The Cassidy Amended Complaint and Robertson Complaint share many of the same

   allegations even aside from the block quote of paragraphs 1–8 of the original Cassidy complaint

   included as paragraph 3 of the Robertson Complaint. Compare, e.g., Slade Decl. Ex. B (Cassidy

   Am. Compl.) ¶ 7 with Slade Decl. Ex. A (Robertson Compl.) ¶ 6 (identically alleging that

   “Voyager’s CEO, Steve Ehrlich, told his investors, and the public, on his last investor call, that

   Voyager is now determining what to do in regards to all of these state and federal investigations,”

   then identically quoting the same statement), Cassidy Am. Compl. ¶¶ 34–35 & 37 with Robertson

   Compl. ¶¶ 19–20 & 22 (describing Voyager’s platform and services), and Cassidy Am. Compl.

   ¶¶ 40–41 with Robertson Compl. ¶¶ 103–107 (discussing and quoting Mr. Ehrlich’s statements

   from an October 28, 2021 press conference held with the other defendants, with additional quotes

   added for the Robertson Complaint). The Robertson Complaint even attaches two expert reports




                                                   7
                                          EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 13 of 32
                                       Pg 13 of 32



   prepared for the Cassidy litigation. Robertson Compl. ¶¶ 56 (“In support of these allegations,

   Plaintiffs attach from the Cassidy Action the [following] two expert reports:…”).4

          Cassidy was stayed and administratively closed following the defendants’ filing of a

   suggestion of bankruptcy. See Slade Decl. Exs. D & E. As for Robertson, summonses have been

   issued by the Clerk of Court (Robertson ECF No. 3), but to the Debtors’ knowledge, Mr. Ehrlich

   has not been served, and no response to the recently-filed complaint has been filed.

          C.      The D&O Insurance Coverage

          The Debtors and their directors and officers share a common primary Executive and

   Corporate Securities Liability Insurance Policy and a common excess insurance policy. The policy

   provides coverage for claims made against directors and officers of both Voyager Digital Ltd. and

   its subsidiaries—thereby encompassing all three of the Debtors—including, but not limited to,

   non-indemnified losses of officers and directors under Insuring Agreement (A); losses of the

   Company or those of its directors and officers that the Company indemnifies, under Insuring

   Agreement (B); and the Company’s losses from securities claims, under Insuring Agreement (C).5

   The Company and its officers and directors are entitled to use the proceeds of that policy for

   damages, judgments, settlements, pre-judgment and post-judgment interest or other amounts. If

   made, those payments would deplete proceeds available to all the Debtors in these cases.




   4   Copies of these reports are not included with the Slade Declaration submitted herewith, but are
       available on the public docket for Robertson at ECF Nos. 1-14 and 1-15.
   5   The Debtors will be filing a motion seeking to file their insurance policies under seal.


                                                    8
                                           EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 14 of 32
                                       Pg 14 of 32



            D.     The Debtors’ Indemnification Obligations

            The governing corporate documents of two of the Debtors, Voyager Digital Holdings, Inc.

   and Voyager Digital, LLC, require indemnification of Voyager’s officers for litigation-related

   claims, such as those that would be incurred by Robertson:

       Document and         Relevant Provisions
       Section

       Second Amended       “Third Party Actions. The corporation shall indemnify any director of
       and Restated         officer of the corporation … who was or is a party … to any threatened,
       Bylaws of Voyager    pending, or completed action, suit, or proceeding … by reason of the
       Digital Holdings,    fact that he or she is or was a director, officer, employee, or agent of the
       Inc. § 10.01         corporation … against expenses (including attorneys’ fees), judgments,
                            fines, and amounts paid in settlement actually and reasonably incurred
                            by him or her … if he or she acted in good faith and in a manner he or
                            she reasonably believe to be in or not opposed to the best interests of the
                            corporation….”

       Second Amended       “Mandatory Indemnification. To the extent that a present former
       and Restated         director or officer of the corporation has been successful on the merits
       Bylaws of Voyager    or otherwise in defense of any action, suite or proceeding … or in
       Digital Holdings,    defense of any claim, issue or matter therein, such person shall be
       Inc. § 10.03         indemnified against expenses (including attorneys’ fees) actually and
                            reasonably incurred by such person in connection therewith.”

       Amended and          “The Company, its receiver or its trustee shall indemnify, defend and
       Restated Limited     hold [Voyager Digital Holdings, Inc.] (and its [members, managers,
       Liability Company    directors, Officers, employees and agents]) harmless from and against
       Agreement of         any expense, loss, damage or liability incurred or connected with, or any
       Voyager Digital,     claim, suit, demand, loss, judgment, liability, cost or expense (including
       LLC § 4.7            reasonable attorneys’ fees) arising from or related to, the Company or
       (incorporating       any act or omission of such Person on behalf of the Company, and
       definitions          amounts paid in settlement of any of the foregoing, provided that the
       contained in the     same were not the result of fraud, willful misconduct or gross
       document)            negligence on the part of the Person against whom a claim is asserted.”


   Copies of these documents are included as Exhibits F and G to the Slade Declaration.6




   6     As noted above, the Debtors also face indemnity claims from Mr. Cuban and Dallas Basketball
         Limited if Robertson is allowed to continue.


                                                     9
                                            EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 15 of 32
                                       Pg 15 of 32



                                              ARGUMENT

          Section 362(a)(1) of the Bankruptcy Code prohibits “the commencement or continuation

   … of a judicial … action or proceeding against the debtor that was or could have been commenced

   before the commencement of the case under this title, or to recover a claim against the debtor that

   arose before the commencement of the case under this title.” 11 U.S.C. § 362(a)(1). Section

   362(a)(3) similarly prevents “any act to obtain possession of property of the estate or of property

   from the estate or to exercise control over property of the estate.” 11 U.S.C. § 362(a)(3). The

   automatic stay is “one of the fundamental debtor protections provided by the bankruptcy laws.”

   Midlantic Nat’l Bank v. N.J. Dep’t of Envtl. Prot., 474 U.S. 494, 503 (1986); accord E.

   Refractories Co. v. Forty Eight Insulations Inc., 157 F.3d 169, 172 (2d Cir. 1998); In re Residential

   Capital, LLC, 2014 WL 3798622, at *8 (Bankr. S.D.N.Y. July 31, 2014); In re Madoff, 2012 WL

   990829, at *7 (S.D.N.Y. Mar. 26, 2012); In re Johns-Manville Corp., 26 B.R. 420, 425 (Bankr.

   S.D.N.Y. 1983). A primary purpose of the stay is to “provide[] the debtor with ‘a breathing spell

   from his creditors’” so that its restructuring efforts can proceed in an efficient, coordinated manner.

   Teachers Ins. & Annuity Ass’n of Am. v. Butler, 803 F.2d 61, 64 (2d Cir. 1986) (quoting S. Rep.

   No. 989, 95th Cong. 2d Sess. 54-55 (1978)); accord In re Ionosphere Clubs, Inc., 922 F.2d 984,

   989 (2d Cir. 1990); In re Calpine Corp., 354 B.R. 45, 49 (Bankr. S.D.N.Y. 2006).

          Courts have extended the automatic stay pursuant to Bankruptcy Code sections 362 and

   105 in order to stay the continued prosecution of claims against non-debtors where failure to do so

   would have an adverse economic impact on the debtors or would impair their restructuring efforts.

   See, e.g., Queenie, Ltd. v. Nygard Int’l, 321 F.3d 282, 287-88 (2d Cir. 2003); In re Calpine Corp.,

   365 B.R. 401, 410 (S.D.N.Y. 2007); In re 1031 Tax Grp., LLC, 397 B.R. 670, 686 (Bankr.

   S.D.N.Y. 2008). Courts extend the automatic stay in such circumstances because permitting such




                                                     10
                                            EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 16 of 32
                                       Pg 16 of 32



   claims to go forward would effectively eviscerate the protections that the automatic stay affords

   debtors. See, e.g., In re United Health Care Org., 210 B.R. 228, 233 (S.D.N.Y. 1997).

          In order to effectuate the purpose of the automatic stay and provide the Debtors the

   protections it affords, this Court should stay or enjoin the continuation of Robertson pursuant to

   sections 362 and 105 of the Bankruptcy Code.

   I.     THE AUTOMATIC STAY OF SECTION 362
          SHOULD BE EXTENDED TO STAY ROBERTSON.

          Pursuant to section 362(a)(1), the Second Circuit has affirmed the extension of the

   automatic stay in order to stay actions against non-debtors where there is such an identity of interest

   that the action against the non-debtor would have an adverse impact on the debtor’s estate or its

   efforts to restructure. See Queenie, 321 F.3d at 287-88. The Second Circuit has also affirmed the

   extension of the automatic stay pursuant to section 362(a)(3) to stay actions against non-debtors

   that would otherwise “obtain possession … or … exercise control” of the estate’s property. See In

   re 48th St. Steakhouse, Inc., 835 F.2d 427, 430–31 (2d Cir. 1987).

          This Court should extend the automatic stay Robertson pursuant to both 362(a)(1) and

   362(a)(3) for the reasons that follow.

          A.      Robertson Should Be Stayed Under Section 362(a)(1) Given Mr. Ehrlich’s
                  and the Other Defendants’ Identity of Interest with the Debtors.

          The automatic stay of section 362(a)(1) should be extended to stay actions against non-

   debtors “where ‘there is such identity between the debtor and the third-party defendant that the

   debtor may be said to be the real party defendant.’” Queenie, 321 F.3d at 287-88 (quoting A.H.

   Robins Co. v. Piccinin, 788 F.2d 994, 999 (4th Cir. 1986)); accord In re Durr Mechanical Const.,

   Inc., 604 B.R. 131, 137 (2019); In re N. Star Contracting Corp., 125 B.R. 368, 370 (S.D.N.Y.

   1991) (“[I]n circumstances where the debtor and the non-bankrupt party can be considered … as

   having a unitary interest, a section 362(a)(1) stay may suspend an action against a non-bankrupt


                                                     11
                                            EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 17 of 32
                                       Pg 17 of 32



   party.”); In re Lomas Fin. Corp., 117 B.R. 64, 67-68 (S.D.N.Y. 1990); In re Calpine, 354 B.R. at

   49. The rule prevents “a claim against the non-debtor [that] will have an immediate adverse

   economic consequence for the debtor’s estate.” Queenie, 321 F.3d at 287; Tenas-Reynard v.

   Palermo Taxi, Inc., 2016 WL 1276451, at *6 (S.D.N.Y Mar. 30, 2016) (extending stay where

   claim against non-debtor will “constitute a claim (and hence, an ‘immediate adverse economic

   consequence’)” against debtor’s estate).

          There is a clear identity of interest here between the Debtors, Mr. Ehrlich, and the other

   defendants in Robertson. The claims in Robertson are inextricably intertwined with issues that will

   be raised in the bankruptcy proceeding, and bear on the Debtors’ alleged conduct. Indeed,

   Robertson asserts liability against Mr. Ehrlich solely for actions allegedly taken in connection with

   his role as an officer of Voyager, and against the other defendants based on their statements made

   as part of their commercial relationship with the Debtors. Robertson effectively equates the relief

   being sought against Mr. Ehrlich and the other defendants with the relief previously sought in

   Cassidy against the Debtors; it will inevitably lead to burdensome discovery from the Debtors; and

   it will create significant indemnification obligations for the Debtors.

                  1.      Continuation of Robertson Would Inevitably Effect the Debtors.

          The automatic stay should be extended to non-debtors where “there is such identity

   between the debtor and the third-party defendant” that a finding or “judgment against the third-

   party defendant will in effect be a judgment or finding against the debtor.” A.H. Robins, 788 F.2d

   at 999; accord Queenie, 321 F.3d at 288. This Court has confirmed that “a stay should be provided

   to codefendants when the claims against them and the claims against the debtor are inextricably

   interwoven, presenting common questions of law and fact, which can be resolved in one

   proceeding.” In re Ionosphere Clubs, Inc., 111 B.R. 423, 434 (Bankr. S.D.N.Y. 1990).




                                                    12
                                           EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 18 of 32
                                       Pg 18 of 32



           The same is clearly true here. Among other things, Robertson may tee up adjudication of a

   legal question that is unsettled in any jurisdiction: Whether crypto-based financial products on

   Voyager’s platform are securities under each jurisdiction’s relevant securities laws. If so, if

   Robertson goes forward, the Debtors would be forced to either watch from the sidelines at great

   risk of prejudice to their interests on this issue, or jettison one of the principal benefits of the stay

   and involve themselves in Robertson to protect those interests at great cost to the restructuring

   efforts. Decisions from the Robertson (or any other) court on that issue could also have significant

   regulatory ramifications, to the Debtors and others. The centrality of this important legal question

   to both the Debtors in the regulation of their (and other cryptocurrency companies’) activities and

   in the resolution of Robertson is reason enough on its own to extend the stay.

           Beyond this legal question, the theories and factual allegations underlying the claims

   against Mr. Ehrlich in Robertson are “inextricably interwoven” with the theories and factual

   allegations underlying the claims against the Debtors in Cassidy. Mr. Ehrlich is the Debtors’ CEO

   and Cassidy predicates its claims against Voyager Digital Ltd. and Voyager Digital, LLC on

   Mr. Ehrlich’s (and others’) allegedly wrongful conduct. Meanwhile, the Robertson plaintiffs’

   primary theory of liability against Mr. Ehrlich is that he and the other defendants “pushed … false

   representations, knowing full well they were false, and lent their credibility as experienced

   investors to dupe the public into investing into the Deceptive Voyager Platform. … [T]hese

   statements and representations are false, misleading and certainly violate numerous state and

   federal consumer statutes.” Robertson Compl. ¶¶ 26–27.

           The theories and factual allegations underlying the claims against the other defendants in

   Robertson are likewise inextricable from the allegations against the Debtors in Cassidy. Robertson

   alleges that the Dallas Mavericks “had entered into a 5-year ‘exclusive, integrated partnership’




                                                      13
                                            EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 19 of 32
                                       Pg 19 of 32



   with Voyager,” Robertson Compl. ¶ 102. The Robertson complaint then quotes at length from the

   press conference announcing that relationship, including statements by both Mr. Cuban and

   Mr. Ehrlich—including statements also quoted in the Cassidy amended complaint. Compare, e.g.,

   Robertson Compl. ¶¶ 103–04 with Cassidy Am. Compl. ¶¶ 40–41 (including verbatim copies of

   the same allegation and quotes from the press conference). Robertson focuses heavily on this press

   conference. Robertson Compl. ¶¶ 105–110 (alleging, e.g., that “Cuban even hyped up the fact that

   he was investing his own money into … Voyager” and “continuously represented that Voyager

   was an easy to use platform that offered the best pricing in the market,” while “Ehrlich, in turn,

   continuously touted the Voyager rewards program” and “Cuban also shamelessly pushed

   investors,” and “Ehrlich, contrary to the position he is now taking in the Voyager bankruptcy,

   claimed that the rewards program is based on ‘staking’ assets that customers own”).

          Given the identity of interests between all the Debtors and Mr. Ehrlich, any decision

   against Mr. Ehrlich could potentially amount to a decision against all the Debtors. Courts have

   extended the automatic stay to cover claims against non-debtors because of the risk that a decision

   against the non-debtors will be given collateral estoppel effect and applied against the debtors. See,

   e.g., In re Calpine, 354 B.R. at 50 (extending the automatic stay to claims against non-debtor where

   not doing so would “expos[e] Calpine to a significant risk of collateral estoppel”); In re Calpine,

   2007 WL 1302604, at *3 (Bankr. S.D.N.Y. Apr. 30, 2007) (same); In re Ionosphere Clubs, 111

   B.R. at 434-35 (extending stay to action against debtor’s chairman); In re Johns-Manville, 26 B.R.

   at 429 (noting that debtor “could be collaterally estopped in subsequent suits from relitigating

   issues determined against its officers and directors”). The overlapping nature of any claims against

   the Debtors and the related claims against the Debtors’ CEO clearly warrant an extension of the

   automatic stay. See, e.g., In re Calpine, 354 B.R. at 50. And if Robertson is allowed to proceed,




                                                    14
                                           EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 20 of 32
                                       Pg 20 of 32



   any evidence generated in that case would inevitably be used later against the Debtors. That risk

   of evidentiary prejudice alone is sufficient to warrant extending the automatic stay to non-debtors.

   See In re Johns-Manville Corp., 40 B.R. 219, 225 (S.D.N.Y. 1984) (noting risk of evidentiary

   prejudice in related matters); In re Lion Capital Grp., 44 B.R. 690, 703 (Bankr. S.D.N.Y. 1984)

   (“[T]he risk that testimony by employees or agents might be subsequently employed against the

   debtor … warranted the issuance of a stay.”).

          The Cassidy defendants’ alleged liability is based on, and derivative of, Mr. Ehrlich’s and

   others’ alleged conduct, as now pursued in Robertson. These facts clearly warrant extending the

   automatic stay to prohibit the continuation of Robertson.

                  2.      Continuation of Robertson Could Create Significant
                          Indemnification Obligations for the Debtors’ Estate.

          Courts have extended the automatic stay pursuant to section 362(a)(1) “where an action

   against one party is essentially an action against the bankruptcy debtor, as in the case where a

   third-party is entitled to indemnification by the debtor for any judgment taken against it.” In re

   W.R. Grace & Co., 2004 WL 954772, at *2 (Bankr. D. Del. Apr. 29, 2004); accord A.H. Robins,

   788 F.2d at 999 (extension of automatic stay to non-debtors appropriate where “there is such

   identity between the debtor and the third-party defendant” that a finding or “judgment against the

   third-party defendant will in effect be a judgment or finding against the debtor”); Queenie, 321

   F.3d at 288; see also In re Calpine, 354 B.R. at 50; In re United Health, 210 B.R. at 232. Courts

   analyzing this issue have indicated that even the “mere possibility of indemnification obligations

   warrants extension of the automatic stay.” In re LTL Management, LLC, 638 B.R. 291, 312 (Bankr.

   D.N.J. 2022) (emphasis added) (citations omitted).

          There exists more than the “mere possibility” of indemnification here. Mr. Ehrlich has the

   right to contractual indemnity in, among other places, the operative articles of incorporation and



                                                   15
                                          EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 21 of 32
                                       Pg 21 of 32



   LLC agreement. The Debtors would also face indemnity claims from the other defendants, arising

   from the commercial relationship between them. Allowing Robertson to proceed would clearly

   thus create indemnification claims against the estate.

          These indemnification obligations warrant an extension of the stay in this case. See, e.g.,

   In re Durr Mechanical Const., Inc., 604 B.R. 131, 137–38 (S.D.N.Y. Bankr. 2019). Where

   indemnification obligations are implicated and cover items such as “costs” and “charges,”

   continuing the lawsuit would risk an “immediate, adverse economic impact on the estate and its

   unsecured creditors.” Id. at 137. Refusing to extend the stay “would defeat the very purpose and

   intent” of the statute. A.H. Robins, 788 F.2d at 999; see also Queenie, 321 F.3d at 287; In re

   Calpine, 354 B.R. at 50.

          B.      Robertson Should Be Stayed Under Section 362(a)(3)
                  in Order to Preserve and Protect the Estate’s Property.

          Section 362(a)(3) protects the bankruptcy estate’s assets by automatically staying “any act

   to obtain possession … or to exercise control over property of the estate.” 11 U.S.C. § 362(a)(3).

   This provision “prohibits interference with the disposition of the assets that are under the Court’s

   wing—whether or not the Debtor is named as a defendant as part of the effort.” In re Adelphia

   Commc’ns Corp., 345 B.R. 69, 76 (Bankr. S.D.N.Y. 2006) (emphasis added). Thus, section

   362(a)(3) directs the stay of any action whether against the debtor or non-debtors that would have

   an adverse impact on the property of the bankruptcy estate. See In re 48th St. Steakhouse, 835 F.2d

   at 431 (“If action taken against the non-bankrupt party would inevitably have an adverse impact

   on property of the bankrupt estate, then such action should be barred by the automatic stay.”); see

   also Queenie, 321 F.3d at 287 (automatic stay applies to non-debtors when claim against non-

   debtor will have “adverse economic consequence for the debtor’s estate”).




                                                   16
                                          EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 22 of 32
                                       Pg 22 of 32



          Robertson could adversely impact property that the Debtors submit is part of their estate,

   and thus should be stayed pursuant to section 362(a)(3). As discussed above, the Debtors share a

   common director-and-officer liability policy. The policy provides independent director insurance

   to the Debtors’ directors and officers, on the one hand, and indemnity coverage related to

   indemnity claims by their directors and officers, and securities coverage to the Debtors, on the

   other hand. Where, like here, liability insurance policies provide direct coverage to both the

   Debtors and their directors and officers, courts have held that “the proceeds will be property of the

   estate if depletion of the proceeds would have an adverse effect on the estate to the extent the

   policy actually protects the estate’s other assets from diminution.” In re Downey Fin. Corp., 428

   B.R. 595, 603 (Bankr. D. Del. 2010) (quoting In re Allied Digital Techs. Corp., 306 B.R. 505, 512

   (Bankr. D. Del. 2004)).

          In In re Quigley Co., Inc., 676 F.3d 45 (2d Cir. 2012), the Second Circuit confirmed that

   insurance policies and proceeds that cover debtors and their non-debtor affiliates are property of

   the estate. Id. at 57; see also In re Johns-Manville Corp., 600 F.3d 135, 152 (2d Cir. 2010) (“[T]he

   insurance policies that Travelers issued to Manville are the estate’s most valuable asset.”);

   MacArthur Co. v. Johns-Manville Corp., 837 F.2d 89, 92 (2d Cir. 1988) (agreeing with

   “[n]umerous courts [that] have determined that a debtor’s insurance policies are property of the

   estate”); In re MF Global Holdings Ltd., 469 B.R. 177, 190 (Bankr. S.D.N.Y. 2012) (same); In re

   1031 Tax Grp., 397 B.R. at 677–78 (shared insurance policy was property of estate). The proceeds

   of such shared insurance policies are “property of the estate if depletion of the proceeds would

   have an adverse effect on the estate to the extent the policy actually protects the estate’s other

   assets from diminution.” In re Downey Fin. Corp., 428 B.R. 595, 603 (Bankr. D. Del. 2010)

   (quoting In re Allied Digital Techs. Corp., 306 B.R. 505, 512 (Bankr. D. Del. 2004)); accord In re




                                                    17
                                           EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 23 of 32
                                       Pg 23 of 32



   Quigley, 676 F.3d at 52; In re MF Global, 2012 WL 1191892 at *10; In re First Cent. Fin. Corp.,

   238 B.R. 9, 16 (Bankr. E.D.N.Y. 1999) (“[T]he estate’s property interest in the proceeds of a

   typical liability policy is an unstated given,” particularly where “the debtor is also the beneficiary

   of the liability insurance coverage.”).

          Courts have thus extended the automatic stay in situations to claims against the non-debtor

   where a debtor and non-debtor share a joint insurance policy; failure to do so would allow access

   to the estate’s assets by the non-debtor. See A.H. Robins Co. v. Piccinin, 788 F.2d 994, 1001–02

   (4th Cir. 1986) (proceedings against non-debtors “who qualify as additional insureds under the

   [insurance] policy are to be stayed under section 362(a)(3)”); see also Raudonis as trustee for

   Walter J. Raudonis 2016 Revocable Tr. v. RealtyShares, Inc., 507 F. Supp. 3d 378 (D. Mass. 2020)

   (“Because courts generally recognize insurance policy as ‘property’ under 11 U.S.C. § 541(a)(1)—

   and thus find such policies subject to an automatic stay pursuant to 11 U.S.C. § 362(a)(3)—the

   defendants’ shared insurance contract arguably sweeps [non-debtors] into the reach of the

   automatic stay.”). The result should be the same here. The policy in this case allows the Mr. Ehrlich

   and other D&Os to draw down the shared insurance proceeds to pay for their defense costs and

   any settlements or judgments. The shared insurance proceeds are paid on a first billed, first paid

   basis, such that payments on behalf of the D&Os would deplete the proceeds available to the

   Debtors. As such, every insurance dollar paid on behalf of the Mr. Ehrlich leaves one fewer dollar

   of insurance coverage available to the Debtors’ estate. See Quigley, 676 F.3d at 53-58; see also In

   re First Cent. Fin., 238 B.R. at 16-17; In re 1031 Tax Group, 397 B.R. at 684-85. That alone

   warrants extending the stay pursuant to section 362(a)(3) to stop prosecution of Robertson.

   II.    THE CONTINUED PROSECUTION OF ROBERTSON
          SHOULD BE ENJOINED UNDER SECTION 105.

          This Court should also enjoin Robertson under section 105(a) of the Bankruptcy Code.



                                                    18
                                             EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 24 of 32
                                       Pg 24 of 32



          Section 105(a), which authorizes the bankruptcy court to “issue any order, process, or

   judgment that is necessary or appropriate to carry out the provisions of [title 11],” gives this Court

   authority to enjoin actions against non-debtors. See In re Chateaugay Corp., 93 B.R. 26, 29

   (S.D.N.Y. 1988) (“[T]he Bankruptcy Court has authority under § 105 broader than the automatic

   stay provisions of § 362 and may use its equitable powers to assure the orderly conduct of the

   reorganization proceedings.”); Haw. Structural Ironworkers Pension Trust Fund v. Calpine Corp.

   Inc., 2006 WL 3755175, at *4 (S.D.N.Y. Dec. 20, 2006) (same); In re 1031 Tax Grp., 397 B.R. at

   684 (“Section 105 authorizes a bankruptcy court to exercise power outside the bounds of the

   automatic stay.”). “[T]he Second Circuit, courts in this District, and courts in other circuits have

   ‘construed [section 105] liberally to enjoin suits that might impede the reorganization process,’”

   including actions against non-debtors. In re Adelphia Commc’ns Corp., 298 B.R. 49, 54 (S.D.N.Y.

   2003); see In re Calpine Corp., 365 B.R. at 413-14; Haw. Structural, 2006 WL 3755175, at *6; In

   re Lyondell Chem. Co., 402 B.R. 571, 588-89 (Bankr. S.D.N.Y. 2009); In re 1031 Tax Grp., 397

   B.R. at 684-86; In re Calpine Corp., 354 B.R. at 50; In re Calpine Corp., 2007 WL 1302604, at

   *4; In re N. Star Contracting, 125 B.R. at 370 n.1; In re Ionosphere Clubs, 111 B.R. at 434.

          A debtor’s request for an injunction pursuant to section 105 is treated as a request for a

   preliminary injunction. See In re Calpine Corp., 365 B.R. at 409. But a debtor “need not satisfy

   the more rigorous requirements for a preliminary injunction under Rule 65 of the Federal Rules of

   Civil Procedure” to obtain an injunction pursuant to section 105. In re Chateaugay, 201 B.R. 48,

   71 (Bankr. S.D.N.Y. 1996). Instead, courts in this district apply the “traditional preliminary

   injunction standard as modified to fit the bankruptcy context.” In re Calpine, 365 B.R. at 409. That

   standard involves evaluating four factors, none of which is determinative:

          1. whether there is an imminent irreparable harm to the estate without an injunction;

          2. whether there is a likelihood of a successful restructuring;


                                                    19
                                           EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 25 of 32
                                       Pg 25 of 32



          3. whether the balance of harms tips in favor of the moving party; and

          4. whether the public interest weighs in favor of an injunction.

   See id.; In re United Health Care Org., 210 B.R. at 233; Haw. Structural, 2006 WL 3755175, at

   *4. As outlined below, the Debtors satisfy all four of these factors.

          A.      Continuation of Robertson Will Irreparably Harm the Debtors.

          The Debtors will suffer irreparable harm to both their estate and their ability to successfully

   restructure if Robertson is not stayed, as continuation of Robertson will “burden, delay or

   otherwise impede the reorganization proceedings.” In re Lyondell Chem., 402 B.R. at 590. In

   assessing whether an injunction is necessary to preserve the estate or protect the restructuring

   efforts, courts in this district have focused on three factors: (1) whether the debtors’ estate would

   be harmed in the absence of an injunction; (2) whether the debtors face a risk of binding rulings

   or evidentiary prejudice if the cases proceed against the non-debtors; and (3) whether the litigation

   against the non-debtors would distract the debtors’ key personnel and frustrate their efforts to

   restructure. See In re Calpine Corp., 354 B.R. at 50; In re Calpine Corp., 2007 WL 1302604 at

   *3–4; In re Lomas Fin., 117 B.R. at 66-67; Malm v. Goldin, 1993 WL 330489, at *2 (S.D.N.Y.

   Aug. 27, 1993); see also In re 1031 Tax Grp., 397 B.R. at 684-85. Absent an injunction here, the

   Debtors would be irreparably harmed in each of these respects.

          First, enjoining Robertson is necessary to preserve the property of the Debtors’ estate. As

   set forth above, the shared insurance policy, and its proceeds, are assets of the estate. If Robertson

   is allowed to proceed, the proceeds of the policy will be depleted, causing irreparable harm to the

   estate. See In re 1031 Tax Grp., 397 B.R. at 685 (finding irreparable harm because “[i]f the

   Colorado Lawsuits go forward, insurance proceeds recoverable by the estate from these wasting

   policies may be diminished by defense costs of the [non-debtor]”).




                                                    20
                                           EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 26 of 32
                                       Pg 26 of 32



          In addition, the Debtors could face indemnification obligations for any attorneys’

   fees/expenses and losses that Mr. Ehrlich, and/or the other named Defendants, incurs in Robertson.

   These potential indemnification claims also constitute irreparable harm. See In re 1031 Tax Grp.,

   397 B.R. at 685 (finding irreparable harm where “there is a substantial risk that the Debtors face

   liability for indemnification if the Colorado Lawsuits are permitted to continue”); In re Calpine,

   354 B.R. at 50; In re United Health, 210 B.R. at 232 (“One example of a situation where such an

   injunction would be permitted would be a suit against a third party who is entitled to absolute

   indemnity by the debtor on account of any judgment that might result against it in the case.”).

          Second, the risk of collateral estoppel, stare decisis, and evidentiary prejudice to the

   Debtors also warrants an injunction. As detailed above, the claims in Robertson are inextricably

   tied to the operations of the Debtors. In fact, the claims in Robertson are based on identical theories

   that the same plaintiffs pursued against the Debtors in Cassidy. Thus, there is little question that

   the results of continuing Robertson could have an impact on the Debtors. Further, the claims

   against Mr. Cuban and Dallas Basketball Ltd. are clearly derivative of a determination as to

   Debtors’ alleged liability for the now-stayed claims in Cassidy. Prosecution of the state law claims

   against Mr. Cuban and Dallas Basketball Ltd. would require a full adjudication of all the

   underlying claims against the Debtors—which have been stayed.

          The truth is that the Debtors would be in a difficult position if Robertson is allowed to

   proceed: either take advantage of the protections of the automatic stay and be saddled with any

   evidence generated, findings made, and decisions rendered; or participate in the defense of the

   case to protect their litigation interests and lose the benefits of the automatic stay. This Hobson’s

   choice constitutes irreparable harm. In re Calpine Corp., 354 B.R. at 50 (“In light of the identity

   of interest between [the debtor] and [the non-debtor], [the debtor] will suffer irreparable harm if




                                                     21
                                            EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 27 of 32
                                       Pg 27 of 32



   the Nevada Litigation continues through the risk of collateral estoppel and evidentiary

   prejudice….”); In re Barney’s Inc., 200 B.R. 527, 531 (Bankr. S.D.N.Y. 1996) (same); In re Lomas

   Fin., 117 B.R. at 67 (same); In re Ionosphere Clubs, 111 B.R. at 435 (same); see also In re S.W.

   Bach. & Co., 425 B.R. 78, 102 (Bankr. S.D.N.Y. 2010).

          Finally, even if the Debtors chose not to participate actively in the litigation of Robertson,

   they may face substantial burdens. As set forth above, plaintiffs will need discovery from the

   Debtors to prove their claims in Robertson, and in turn Mr. Ehrlich and the other Robertson

   defendants would likely have to obtain discovery from the Debtors to defend against the claims.

   See, e.g., Robertson Compl. ¶¶ 7 (noting that in Cassidy, “just before class counsel was able to

   serve third party discovery on Cuban,” “the news broke” of the circumstances leading to the

   Debtors filing their chapter 11 petitions) & 112 (“Although it is unclear without discovery to what

   extent Cuban was invested in the Deceptive Voyager platform…” (emphasis added)). It bears

   noting that these chapter 11 cases anticipate an extremely fast timetable to benefit all stakeholders.

   The Debtors need Mr. Ehrlich (and their other D&Os) to be focused 100% on their restructuring

   efforts—not on defending a class action lawsuit in Miami.

          Courts have found that debtors would suffer irreparable harm where the failure to stay an

   action against a non-debtor would result in material obligations on the debtors that would frustrate

   their efforts to restructure successfully. Haw. Structural, 2006 WL 3755175, at *5 (affirming

   extension of stay to halt claims against non-debtors where “the logistical stress on Calpine from

   attempting to simultaneously undertake a massive reorganization while monitoring and producing

   documents in the State Court Action threatened to irreparably impair the company’s reorganization

   process”); In re Lomas Fin. Corp., 117 B.R. at 67 (upholding extension of automatic stay where

   “key personnel would be distracted from participating in the reorganization process”).




                                                    22
                                           EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 28 of 32
                                       Pg 28 of 32



          B.      There Is a Reasonable Likelihood the Debtors Will Successfully Restructure.

          Courts in this district have found a reasonable likelihood of a successful reorganization

   where “the Debtors are proceeding on track, and there is no reason to believe or suspect that their

   reorganization will fail—unless, of course, the acts sought to be enjoined cause it to fail.” In re

   Lyondell Chem., 402 B.R. at 590. In evaluating this factor “in the earliest weeks” of the complex

   reorganization of Lyondell Chemical Company, a court in this district found that “the Debtors have

   so far been successful in doing everything they’ve needed to do to date,” and because they “have

   met the challenges they have faced so far, that is sufficient.” Id.; see also In re Soundview Elite

   Ltd., 543 B.R. 78, 119 (S.D.N.Y. 2016) (“Courts do not demand certainty of a successful

   reorganization; they expect only reasonable prospects of such.”).

          The Debtors here are similarly “proceeding on track” toward a successful restructuring and

   resolution of their chapter 11 cases. Despite the challenges and complexities of restructuring one

   of the largest cryptocurrency trading platforms in the world, the Debtors are proceeding swiftly

   through their restructuring efforts. To date, this Court has granted first- and second-day relief (see,

   e.g., various orders, ECF Nos. 53–60, 233, 235, 236–39) and approved bidding procedures on

   August 5, 2022 (ECF No. 248)—a marketing process that has already yielded multiple indications

   of interest from third-party investors. The Debtors also filed a “stand-alone” plan of reorganization

   that will allow the Debtors to successfully emerge from chapter 11 without the need for a

   transaction partner or additional financing, and are prepared to commence solicitation on the plan

   if, ultimately, the plan represents the most value-maximizing transaction available to the Debtors.

   See ECF Nos. 1, 288–289. The Debtors are “proceeding on track and have met the challenges they

   have faced” thus far, so there is a reasonable likelihood they will successfully restructure. See In

   re Lyondell Chem., 402 B.R. at 590.




                                                     23
                                            EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 29 of 32
                                       Pg 29 of 32



          C.      The Balance of Harms Favors an Injunction.

          The balance of harms weighs in favor of issuing an injunction. As described above, the

   harm to the Debtors would be irreparable if this Court does not enjoin Robertson. The Debtors

   would risk rulings that could be used against them; the estate’s resources would be depleted; and

   the Debtors’ efforts to restructure would be harmed.

          By contrast, if Robertson is enjoined, there would be only de minimis harm to the plaintiffs.

   Robertson is in its very early stages—the Complaint was just filed on August 10, 2022 and, to the

   best of the Debtors’ knowledge, Mr. Ehrlich has not been served, and no response to the Complaint

   has been filed by the other defendants. And the Debtors do not anticipate these chapter 11 cases

   dragging on, so the stay sought here is temporary. Thus, even if an injunction were to delay a final

   decision on the merits in Robertson, a modest delay is insufficient to overcome the potential harm

   to the Debtors: “The inability of [the defendant] to obtain a hypothetical recovery sooner … is not

   a harm—and is certainly not an irreparable harm sufficient to outweigh the irreparable harm that

   [the debtors] will suffer if the … litigation were permitted to proceed.” In re Calpine Corp., 365

   B.R. at 413; accord In re Am. Film Techs., 175 B.R. 847, 849 (Bankr. D. Del. 1994) (same); In re

   Johns-Manville Corp., 26 B.R. at 430-31.

          D.      An Injunction Serves the Public Interest.

          Finally, an injunction would serve the public interest. “[I]n the context of bankruptcy

   proceedings, the ‘public interest’ element means the promoting of a successful reorganization.” In

   re OMC, Inc., 2010 WL 4026097, at *5 (Bankr. S.D.N.Y. Oct. 13, 2010); accord In re Calpine

   Corp., 365 B.R. at 413; Haw. Structural, 2006 WL 3755175, at *6. Enjoining Robertson to avoid

   harm to the Debtors and allow them to restructure successfully is a far greater public interest than

   allowing the Robertson plaintiffs to continue pursuing claims against the Mr. Ehrlich and the other

   defendants that are in the earliest stages of litigation. See Haw. Structural, 2006 WL 3755175, at


                                                   24
                                          EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 30 of 32
                                       Pg 30 of 32



   *4 (“If an action against a non-debtor would frustrate the goal of debtor reorganization, section

   105(a) provides the statutory authority for an injunction staying the action against the non-

   debtor.”); In re Adelphia Commc’ns, 298 B.R. at 54 (“It is well settled that bankruptcy courts,

   under [section 105], may extend the automatic stay to enjoin suits by third parties against third

   parties if they threaten to thwart or frustrate the debtor’s reorganization efforts.”).

                                             CONCLUSION

           For the foregoing reasons, the Debtors respectfully request that this Court enter an order

   extending the automatic stay to Robertson pursuant to section 362, or, in the alternative, enjoining

   the continuation of Robertson pursuant to Section 105, until the effective date of a plan of

   reorganization in these chapter 11 cases, and grant such other and further relief as this Court deems

   just and proper.




                                                     25
                                            EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 31 of 32
                                       Pg 31 of 32



   Dated: August 22, 2022
   New York, New York              /s/ Joshua A. Sussberg
                                   KIRKLAND & ELLIS LLP
                                   KIRKLAND & ELLIS INTERNATIONAL LLP
                                   Joshua A. Sussberg, P.C.
                                   Christopher Marcus, P.C.
                                   Christine A. Okike, P.C.
                                   Allyson B. Smith (admitted pro hac vice)
                                   601 Lexington Avenue
                                   New York, New York 10022
                                   Telephone:     (212) 446-4800
                                   Facsimile:     (212) 446-4900
                                   Email:         jsussberg@kirkland.com
                                                  cmarcus@kirkland.com
                                                  christine.okike@kirkland.com
                                                  allyson.smith@kirkland.com

                                   Michael B. Slade (admitted pro hac vice)
                                   KIRKLAND & ELLIS LLP
                                   KIRKLAND & ELLIS
                                      INTERNATIONAL LLP
                                   300 North LaSalle
                                   Chicago, IL 60654
                                   Telephone:    (312) 862-2000
                                   Facsimile:    (312) 862-2200
                                   Email:        mslade@kirkland.com

                                   Counsel to the Debtors and Debtors in Possession




                                            26
                                    EXHIBIT "B"
Case22-01138-mew    Doc 2Document
     1:22-cv-22538-RKA     Filed 08/22/22  Entered
                                   7-2 Entered      08/22/22
                                                 on FLSD     21:27:03
                                                          Docket        Main Document
                                                                 08/26/2022  Page 32 of 32
                                       Pg 32 of 32



                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 22nd day of August, 2022, I caused a true and correct

   copy of the foregoing to be served by e-mail upon the following:

          Adam M. Moskowitz (adam@moskowitz-law.com)
          Joseph M. Kaye (joseph@moskowitz-law.com)
          Barbara C. Lewis (barbara@moskowitz-law.com)
          THE MOSKOWITZ LAW FIRM, PLLC
          2 Alhambra Plaza, Suite 601
          Coral Gables, FL 33134


                                                      /s/ Michael Slade
                                                      Michael Slade




                                         EXHIBIT "B"
